Case 1:18-cv-01937-VSB Document 94 Filed 05/04/20 Page 1 of 28

: -
UNITED STATES DISTRICT COU
FOR THE

SOUTHERN DISTRICT OF NEW Y

 

Michael Jones,,

Petitioner, —
Docket No. 18-CV-1937(
Vv.
The City of New York
Defendant.

 

To Hon. Vernon S. Broderick, Judge of the United States District Court for the South District.

I, ‘Michael Jones, respectfully respond to this Courts Opmion and Order date April 6,
2020 concerning defendant Jorge Villalobos and the dates in which I was seen by her. I have not
received the Courts decision as of yet and only came across it on April 16, 2020 while at work in
the facilities Law Library. Please find enclosed the Medical reports dated, March 23, 2015,
January 5, 2015, and November 18, 2014, which confirm that defendant Villalobos in fact saw
me-on those dates. (See Att — A).

I have also included an Amended Complaint that contains the names of the Correctional
Captains and Officers who were listed as John Doe in the original Complaint. | was provided
with the names during discovery. (See Att — B). I am still in the process of attempting to obtain
the roles each defendant played during the search through further discovery.

As such, I respectfully ask that the time of discovery be extended because I have
requested more documents/evidence from the defendants after the receipt of documents in which
they have already provided. The defendant’s will not be prejudice by an extension.

I Michael Jones, certify under the penalty of perjury that I have placed this request in the
mailbox at Sing Sing Correctional Facility on April 22, 2020 and mailed a copy to Sharon
Sprayregen, Esq., the Assistant Corporation Counsel. and Bruce M. Brady, Esq. the attorney’s in

_ this matter,

Michael Jones, Plaintiff, Pro se

   
Case 1:18-cv-01937-VSB Document 94 Filed 05/04/20 Page 2 of 28

ATTACHMENT-A
Summary Viewer JONES/MIGHARISB Document 94 Filed 05/04/20 Page 3 of Bage 1 of 3

 

 

: ‘Correcti onal Health. Services

JONES, MICK AEL

NYSID:04360538N BookCase: 8751400724
Facility Code: GMDC Housing Area: M1B-U
53 Y old Male, DOB: 07/26/1961
DOWNSTATE CORR FAC, DOWNSTATE, NY
Insurance: Self Pay
Appointment Facility: George Motchan Detention Center (C-73}

 

03/23/2015

CurrentiMedications
Gabapentini300 MG Capsule 1 cap Twice a
Day, stop date 03/ 30/2015
AmlodipinelBesylate 1G mg Tablet 1 tablet
Once a day, Istop date 04/28/2015

Aspirin EC-81 MG Tablet Delayed Release 1
tablet Oncela day, stop date 04/28/2015
Zocor 20 mg Tablet 1 tab At Bedtime, stop
date 04/28/2015

Past Medical History
Hypertension since 4/2004

ltch of skin NOS

lich of skin NOS

URI [Upper respiratory infection]
Toothache |

Dental absc:

Rhinitis NGS

Allergies
N.KDA. |

Appointment Provider: Jorge Villalobos, PA

; Reason for Appointment
: 4, Back pain ,med refill

. History of Present IliIness
VISIT COMPLEXITY SCALE:
Pt with hx chronic LBP, s/ p back surgery. Pt i in clinic, requesting -
: refill Celebrex.
NON-INTAKE ACUITY
Non-| niake Acuity Scale 2; Complicated sick call (problem

_ requiring diagnostic evaluation, documented history, physical exam,

2 Specified follow up) OR One chronic condition addressed with
: , components specified in @

 

 

 

 

 

 

 

 

Vital i Signs

BP

122/80 Oe ae oe Tk22 Jorge Villalobos
Pulse

| /68 03/23/ os o2:1t a2 Jorge Villalobos.

; RR

: 4 Oe ete Jorge Villalobos

Temp

i [os.3 03/23/2015 02:11:22 Jorge Villalobos

 

 

 

Past Orders

[ Lumbar Spine AP, Lateral and Lateral L5-S1 (XRAY) (Order Date -

: 42/20/2074) (Collection Date - 12/24/2014)
: Result: Abnormal/ Positive/ Reactive

E Notes: Cantor,Lourdes , PA 12/26/2014 4:44:58 PM > STUDY:
; LUMBOSACRAL SPINE X-RAY. CLINICAL HISTORY: Low back pain.
F TECHNIQUE: AP and lateral radiographs of the lumbosacral spine.
' FINDINGS: AP and lateral radiographs demonstrate a posterior fusion
| with metallic rods and pins transfixing the L4-5 and L5-S1 disc space
* levels as well as bony densities. The metallic bullets over the left

 

 

inguinal region and two metallic densities over the right side of the

 

Patient: JONES, MICHAEL DOB: 07/26/1961 Progress Note: Jorge Villalobos, PA 03/23/2015
Note generated by eClinicalWorks EMR/PM Software (www.eClinicalWorks.com)

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4/24/2015
Summary Vieager JONES WICHAESB Document 94 Filed 05/04/20 Page 4 of Page2 of 3

; pelvis of unknown etiology. Thereis anormal alignment of vertebral
. bodies. No fractures or destructive lesions are present. No
| Spondylolysis or spondylolisthesisis present. IMPRESS ON: Status
. post posterior fusion of L4-5 and L5-S1 disc space levels. Report
» Electronically Sgned by: Ronald Schliftman Report Signed on:
E 12/24/2014 3:25 PM Send to facility Team Leaders.
| Examination
, General Examination:
GENERAL APPEARANCE: no acute distress.
: NECK: supple.
f HEART: RATE:-, regular, RH YTHM:-, regular,
LUNGS: clear to auscultation bilaterally.
EXTREMITIES: normal ROM.
Back:
INSPECTION: + old healed surgical scar mid lower spine region..
PALPATION: positive tenderness midline.
RANGE OF MOTION: normal.
MOTOR STRENGTH: 5/6 all groups bilaterally.
GAIT: nermal.

Assessments
. 1 LBP [Low back pain] - 724.2, s/p spinal fusion

nent

EOS ETE

» Treatment

| 1, LBP [Low back pain]

: Start Celebrex Capsule, 200 MG, 4 tab, Orally, Daily, 7 days, Pharmacy
1 Pt ed. Rtc prn.

' Appointment Provider: Jorge Villalobos, PA

 

Saat

re

 

 

 

i Electronically signed by Jorge Villalobos PA on 03/23/2015 at
§ 02:15 PM EDT

; Sign off status: Completed

 

 

George otchan Detention Center (C-73}

 

Patient: JON ES, MICHAEL DOB: 67/26/1967 Progress Note: Jorge Villalobos, PA 03/23/2045
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Summary ViewdarJONES, MUGEIABISE Document 94 Filed 05/04/20 Page 5 of Pages of 3

Tey

f 15-15 Hazen Street

i : -East Eimbhurst, NY 11370--
t Tel: 718-546-4550

f Fax:

 

Patient: JONES, MICHAEL DOB: 07/26/1961 Progress Note: Jorge Villalobos, PA 03/23/2015
, Note generated by eClinicalWorks EMR/PM Software (www.eClinicalWorks.com)

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Correctional Health Services|
Insurance: Self Pay

JONES, MICHAEL

NYSID:04360588N BookCase: 8751400724
_ Facility Code: GMDC Housing Area: M1B-U

53 Y old Male, DOB: 07/26/1961
DOWNSTATE CORR FAC, DOWNSTATE, NY

Appointment Facility: George Motchan Detention Center (C-73)

 

01/05/2045

CurrentiMedications

Aspirin EC 81 MG Tablet Delayed Release 1
tablet Oncea day, stop date 02/ 04/2015

AmlodipineiBesylate 1D mg Tablet 1 tablet

Once a day, istop date G2/0 4/2015

zocor 20 mg Tablet 1 tab At Bedtime, stop
date 02/01/2015

Gabapentini300 MG Capsule 1 cap Twicea
Day, stop date 03/30/2045

Past M edical History
Hypertension since 4/2004

Itch of skin NOS

Hitch of skin NOS

URI [Uppen respiratory infection]
Toothache |

Dental abscess

Rhinitis NGS

Allergies
NDA. |

| Vital Signs |
: SF
437/87 cake hada Jorge Villalobos
: Pulse
178 OV 05/2015 09:10:25 Jorge Villalobos]
RR
6 | Oe nO. 08:10:25 Jorge Villalobos
Temp
98.0 OW 05/ aon oe 28 Jorge Villalobos}

 

Appointment Provider: Jorge Villalobos, PA

Reason for Appointment
E 1. Sc

: History of Present Hiness
» VISIT COMPLEXITY SCALE:

NON-INTAKE ACUITY
Non-intakeAcuity Scale 2: Complicated sick call (problem

: requiring diagnostic evaluation, documented history, physical exam,
: Specified follow up) OR One chronic condition addressed with
. components specified in (3)

Pt with hx chronic LEP s/p back surgery 2006. Pt in clinic,

requesting refill Celebrex for pain.

 

 

 

 

 

 

 

 

 

 

 

| Examination

: General Examination:

GENERAL APPEARANCE: no acute distress, ambulating well..
NECK: supple.

HEART: RATE:-, regular, RH YTHM:-, regular,

LUNGS. clear to auscultation bilaterally, no

' wheezes/ rhonchi/ rales.
: Back:

INSPECTION: normal contour, healed scar lower back..
PALPATION: positive tenderness right paraspinals, positive

" tenderness left paraspinals.

 

Patient: JONES, MICHAEL DOB: 07/26/1861 Progress Note: Jorge Villalobos, PA 04/05/2015
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Summary ViewdardQNES MIGEARISB Document 94 Filed 05/04/20 Page 7 of Page2 of 2

RANGE OF MOTION: normal.
t MOTOR STRENGTH: 5/5 all groups bilaterally.
f GAIT: normal.

f Assessments
| 1. Degenerative disc disease - 722.6

Treatment
: 1, Degenerative disc disease

| Start Celebrex Capsule, 200 MG, 1 tab, Orally, Daily, 7 days, Pharmacy
. Pied. Rtcprn. .

: Appointment Provider: Jorge Villalobos, PA

 

il

 

 

PATA, terri eer tres

 

Electronically signed by Jorge Villalobos PA on 01/05/2015 at
f 09:17 AM EST

. Sign off status: Completed

PEE

 

George Motchan Detention Center (C-73)
15-15 Hazen Street
East Elmhurst, NY 11376
Tel: 718-546-4550
Fax:

 

 

Patient: JONES, MICHAEL DOB: 07/26/1961 Progress Note: Jorge Villalobos,PA 04/05/2015

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Summary Vie@dor JONES \WUOBHYEVSB Document 94 Filed 05/04/20 Page 8 ofage 1 of 2 -

 

  

. ‘Hea

“Corre r ctional Health Services

JONES, MICHAEL

NYSID: 04360588N BookCase: 8751400724

Insurance: Self Pay

Facility Cede: GMDC Housing Area: M1B-U

53 Y old Male, DOB: 07/26/1961

DOW NSTATE CORR FAC, ROWNSTATE, NY

Appointment Facility: George M otchan Detention Center (C-73)

 

4118/2014

Current Medications

Aspirin EC 81 MG Tablet Delayed Release 1
tablet Once alday, stop date 02/01/2015
Amlodipine Besylate 10 mg Tablet # tablet
Once a day, stop date 02/01/2015

Zocor 20 mg/Tablet 1 tab At Bedtime, stop
date O2/ 012048

Past Medical History
Hypertension since 4/2004

Allergies
N.KD.A.

Appointment Provider: Jorge Villalobos, PA

Reason for Appointment
P1.8c

: History of Present Illness

' VISIT COMPLEXITY SCALE:
NON-INTAKE ACUITY

. components specified in (3)
Denies fever, headache, cp, sob.

surgery.

Non-Intake Acuity Scale 2: Complicated sick call (problem

: requiring diagnostic evaluation, documented history, physical exam,
; specified follow up) OR One chronic condition addressed with

Pt c/o having acold. Pt c/o stuffy nose, scratchy throat x past 2d.

Pt also requesting renewal Celebrex for chronic back pain, s/p

 

 

 

 

 

 

 

 

 

| Vital Signs
BP
434/79 1 18 aM 08:54:21 Jorge Villalobos
. Pulse .
165. eee e. Jorge Villalobos
RR
lh 11) 18/2044 08:51:22 ° Jo, ce Villalobos
: AM
Temp
974 118) 20M BOT 22 Jorge Villalobos

 

 

Examination
: General Examination:

 

NECK: supple.

 

GENERAL APPEARANCE: no acute distress. ,
: HEENT: EYES:-, conjunctiva clear, NOSE:-, turbinates red and
: swollen, TH ROAT:-, no erythema or exudate.

HEART: RATE:-, regular, RHYTHM:-, reguiar.

LUNGS. clear to auscultation bilaterally, no

wheezes rhonchi/rales.

 

Patient: JONES, MICHAEL DOB: 07/26/1961 Progress Note: Jorge Villalobos, PA +H 18/20 14
/ Note generated by eClinicalWorks EMR/PM Software (www.eClinicalWorks.cam)

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Summary ViewSeeJONES MIGHAEVSB Document 94 Filed 05/04/20 Page 9 oP age? of 2

: Assessments
- 4. Rhinitis NOS- 472.0 (Primary) ©
| 2, LBP [Low back pain] - 724.2

: Treatment

: 4. RhinitisNOS

: Start Sudafed Tablet, 30 mg, 2 tabs, Orally, Twice a Day, 5 days,
: Pharmacy, Refills 0

Pt ed. Increase po fluids. Rte prn.

| 2, LBP [Low back pain]

' Start Celebrex Capsule, 200 MG, tcap, Orally, Daily, 7 days, Pharmacy,
» Refills 0

. Appointment Provider: Jorge Villalobos, PA

 

im

 

 

 

_£ Electronically signed by Jorge Villalobos PA on 11/18/2014 at
2 09:05 AM EST

: Sign off status: Completed

 

E
i George M otchan Detention Center (C-73)

ho , 15-15 Hazen Street

: . East Eimhurst, NY 11370

i : Tel: 718-546-4550

: : Fax:

 

 

Patient: JONES, MICHAEL DOB; 07/26/1961 Progress Note: Jorge Villalobos, PA 11/48/2044

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ATTACHMENT-B
 

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THE CITY OF NEW YORE
DEPARTMENT OF CORRECTION

SPECIAL SEARCH TASK FORCE

 

 

   

 

 

 

 

 

 

 

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CORRECTION OFFICERS |
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TOTAL NUMBER OF WEAPONS TOTAL NUMBER OF DRUG FINDS! TOBACCO PRODUCTS : OTHER

 

 

 

 

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COMMAND POST NUMBER:

 

 

 

 

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Case 1:18-cv01937-VSB Document 94° Filed 05/04/20 Page 12 of 28

 

THE CITY OF NEW YORK
DEPARTMENT OF CORRECTION

SPECIAL SEARCH TASK FORCE

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CONSISTING OF: ha SPECIAL SEARCH TEAM INTELLIGENCE UNIT
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’ [RACILITY SE. iz RS:
TY SEARCHED Ww IE fi Ge b c SUPERVISORS: .
Ti V f Court Fro action Cenl ra | Trtalte , caprans; /4} tche f} #/ASD
: _ CORRECTION OFFICERS
NAME SHIELD | DOA PCOMMAND NAME SHIELD |- DOA | COMMAND
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AREA borRM | BEDS TOTAL CENSUS IN OUT #SRG YES/NO
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Git, 22, 2015 i560 toued
; SUPERVISORS:
> er CAPTAINS: DED 6
CORRECTION OFFICERS
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STATISTICS
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NYC 000420

 
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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

penne n eee nee -- -- ---X
Michael Jones, ,

 

Plaintiff,
COMPLAINT PURSUANT
~against- TO 42 U.S.C. §1983

The City of New York, Joseph A. Ponte, Jury Trial Demanded
Olga Segal, M_D., Rostislav Davydov,

Jorge Villalobos, Francis Martin, Carolyn Grainger, 18-CV-1937(VSB)
Anthony Johnson, David Whitaker, Jorel Ward,
Robert Gottlieb, Daniel Altadonna, Steven Merril,

Joey Torres, George Beazer, Emiel Henry,

Ralph Dessoueces, Johnnie Gildon, Louis Finley,

David Gonzalez, Gregory McNichlos, Willtam Smith,

William Pincay, Captain Garcia #1632,

Captain Deochan #1630, Wayne Murphy,

Darian Johnson, Jeremiah Haze, Javier Cruz,

Eric Nieves, Chris DiTommaso, Hector Estrella,

John Poleini, Fred Hertz, Robert Pullan,

Michael Drapan, Captain Mitchell #1250,

Corizon Health Inc., Jane Doe #1, Jane Doe #2,

Jane Doe #3.

Defendants.

 

COMPLAINT
I PRELIMINARY INTRODUCTION

Plaintiff in the above-caption action, allege(s) as follows: .

1} Plaintiff, Michael Jones, bring this action seeking relief and/or damages to
defend and protect the rights guaranteed by the Constitution of the United States. This
action is brought pursuant to 42 U.S.C. §1983, against Doctors, Corizon Health Inc.,

Correctional Officers, Commissioner Joseph A. Ponte and The City of New York for

money damages brought pursuant to 42 U.S.C. §1983, to redress the deprivation of rights

secured to plaintiff by the First, Fourth, Eighth, Amendments to the United States

Constitution and the aforementioned statutory provisions in their individual and official

capacity.

See
Case 1:18-cv-01937-VSB Document 94 Filed 05/04/20 Page 15 of 28

JURISDICTION

2) This court has jurisdiction over this action pursuant to 28 U.S.C. §§1331,

1341 (a)(3), 1341 (a)(4), 1367 (a), and 42 U_S.C. §1983.
VENUE

3) Venue is proper in this District Pursuant to 28 U.S.C. §1391.

4) It is alleged that the individual Doctors, Corizon Health Inc., Correctional
Officers, Commissioner Joseph A. Ponte, and The City of New York, failed to provide
medical attention, and committed an illegal search.

i PARTIES IN THIS COMPLAINT: .
5) Plaintiff is and was at all times relevant herein a citizen of the United

States and resides at:

A). Plaintiff: Michael Jones #90-A-5292
Sing Sing Corr. Fac.
354 Hunter St.
Ossining, New York 10562
B). Defendant Number One: Defendant Number Three:
Olga Segal, M.D. Jorge Villalobos

West Facility 16-06 Hazen Street
East Elmhurst, New York 11370

Defendant Number Four:
Francis Martin, #9727

G.R.V.C. 09-09 Hazen Street
East Elmhurst, New York 11370

Defendant Number Six:
Anthony Johnson, #17923
A.M.K.C. 18-18 Hazen Street
East Elmhurst, New York 11370

Defendant Number Eight:
David Whitaker, #15271
A.M.K.C. 18-18 Hazen Street
East Elmhurst, New York 11370

Defendant Number Ten:
Robert Gottlieb, #1753
AM.K.C. 18-18 Hazen Street
East Elmhurst, New York 11370

 GM_LD.C. 15-15 Hazen Street

East Elmhurst, New York 11370

Defendant Number Five:
Carolyn Grainger, #18108
G.B.V.C. 09-09 Hazen Street -
East Elmhurst, New York 11370

Defendant Number Seven:
Daniel Altadonna, #18768
E.M.T.C, 10-10 Hazen Street
East Elmhurst, New York 11370

Defendant Number Nine:

 Jorel Ward, #18963

A.M.K.C. 18-18 Hazen Street
East Elmhurst, New York 11370

Defendant Number Eleven:
Steven Merril, #13163

E.M.T.C. 10-10 Hazen Street
East Elmhurst, New York 11370
Case 1:18-cv-01937-VSB Document 94

Defendant Number Twelve:
Joey Torres, #15073

E.M.T.C. 10-10 Hazen Street
East Elmhurst, New York 11370

Defendant Number Fourteen:
Emiel Henry, #9649

G.M.D.C. 15-15 Hazen Street
East Elmhurst, New York 11370

Defendant Number Sixteen:
Corizon Health Inc.

49-04 19" Ave. West Facility
Astoria, New York 11305

Defendant Number Eighteen:
Captain Garcia #1632

West Facility 16-06 Hazen Street
East Elmhurst, New York 11370

Defendant Number Twenty:
Johnnie Gildon, #10443

N.LC. 16-00 Hazen St.

East Elmhurst, New York 11370

Defendant Number Twenty-two:
David Gonzalez, #17072
R.M.S.C, 19-19 Hazen St,

East Elmhurst, New York 11370 —

Defendant Number Twenty-four:
William Smith, #15482

O.B.C.C. 16-00 Hazen St.

East Elmhurst, New York 11370

Defendant Number Twenty-six:
Wayne Murphy, #15646
A.M.K.C. 18-18 Hazen Street
East Elmhurst, New York 11370

Defendant Number Twenty- eight:
Jeremiah Haze, #7155

G.R.V.C. 09-09 Hazen Street

East Elmhurst, New York 11370

Filed 05/04/20 Page 16 of 28

Defendant Number Thirteen:
George Beazer, #1037

E.M.T.C, 10-10 Hazen Street
East Elmhurst, New York 11370

Defendant Number Fifteen:
Ralph Dessoueces, #10152
G.M_D.C, 15-15 Hazen Street
East Elmhurst, New York 11370

Defendant Number Seventeen:
Captain Mitchell #1250

16-06 Hazen Street

East Elmhurst, New York 11370

Defendant Number Nineteen:
Captain Deocgab #1630

West Facility 16-06 Hazen Street
East Elmhurst, New York 11370

Defendant Number Twenty-one:
Louis Finley, #17395

West Facility 16-06 Hazen Street
East Elmhurst, New York 11370

Defendant Number Twenty-three:
Gregory McNichlos, 15733
O.B.C.C, 16-00 Hazen St.

East Elmhurst, New York 11370

Defendant Number Twenty-five:
William Pincay, #15256

O.B.C.C. 16-00 Hazen St.

East Elmhurst, New York 11370

Defendant Number Twenty-seven:
Darian Johnson, #1295

G.R.V.C. 09-09 Hazen Street

East Elmhurst, New York 11370

Defendant Number Twenty-nine:
Javier Cruz, #3244

G.R.V.C. 09-09 Hazen Street

East Elmhurst, New York 11370
il

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Defendant Number Thirty:
Eric Nieves, #4508

G.R.V.C. 09-09 Hazen Street.
East Elmhurst, New York 11370

Defendant Number Thirty-two
Hector Estrella, #10631
G.R.V.C. 09-09 Hazen Street
East Elmhurst, New York 11370

Defendant Number Thirty-four:
Fred Hertz, #18147

O.B.C.C. 16-00 Hazen St.

East Elmhurst, New York 11370

Defendant Number Thirty-six:

_ Michael Drapan, #15553

Transportation Division
West Facility 16-06 Hazen Street
East Elmhurst, New York 11370

Defendant Number Thirty-eight:

Jane Doe Officer #2
Transportation Division

West Facility 16-06 Hazen Street
East Elmhurst, New York 113706

Defendant Number Forty:
The City of New York

City Hall NLY.

New York, New York 10007

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Defendant Number Thirty-one:
Chris DiTommaso, #3845

West Facility 16-06 Hazen Street
East Elmhurst, New York 11370

Defendant Number Thirty-three:
John Poleini, #9604

A.MLK.C, 18-18 Hazen Street

East Elmhurst, New York 11370

Defendant Number Thirty-five:
Robert Pullan, #14946

AM.K.C. 18-18 Hazen Street.
East Elmhurst, New York 11370

Defendant Number Thirty-seven:
Jane Doe Officer #1

Transportation Division

West Facility 16-06 Hazen Street
East Elmhurst, New York 11370

Defendant Number Thirty-nine:
Jane Doe Officer #3
Transportation Division

West Facility 16-06 Hazen Street
East Elmhurst, New York 11370

Defendant Number Forty-one:
Joseph A. Ponte, Former Comm.
NY City Department Of Correction
75-20 Astoria Blvd.

East Elmhurst, New York 11370

EXHAUSTION OF ADMINISTRATIVE REMEDIES:

 

 

6-a. There is a grievance procedure at both facilities.
b. Plaintiff filed grievances with both facilities.
c. Some grievances were denied, some was not answered.
d. All the grievances were appealed.

PREVIOUS LAWSUITS:

7-a. Jones v. Smith, et al, 09-CV-1058

Northern District of New York
Hon. Gary L. Sharpe
Submitted, September 2009

Trial Verdict in Plaintiff's favor/Settlement,
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b. Jones v. Fischer, et al, 10-CV-1331
Northern District of New York
Hon. Gary L. Sharpe
Submitted, 2010
Dismissed;

 

c. Jones v Breken, et al, 02-CV-55
Western District of New York
Hon. Kenneth K. Schroeder, Jr.
Submitted, July 2002
Settled in favor of Plaintiff.

 

d. Jones vy. Artuz, et al, 01-CV-4652
Southern District of New York
Hon. Sprizzo.
Submitted, 2001
Dismissed;

d. Jones v. Coughlin, et al, 93-CV-7341
Southern District of New York
Hon. Charles L. Briant
Submitted, 1993
Dismissed;

e. Jones v. DeRose, et al, Docket NA
Southern District of New York
Hon. Glasser
Submitted, File Date: January 1990
Settled in favor of Plaintiff.
Vv STATEMENT OF CLAIM:

8) Plaintiff, Michael Jones, brings this action claiming that defendants
violated and failed to comply with State and Federal regulations denying adequate
medical treatment, and illegal strip/body cavity searches in violation of his First, Forth,
and Eighth, Amendments of the United States Constitution: 42 U.S.C. §1983.

9) — The institution giving rise to plaintiffs claims occurred in Robert N.
Davoren Center, 11-11 Hazen St, East Elmhurst, N.Y. 11370, George Motchan
Detention Center, 15-15 Hazen St, East Elmhurst, N.Y. 11370, and Transportation

Division, West Facility 16-06 Hazen Street, East Elmhurst, New York 11370.
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10) The places within the institutions where the events occurred were in the
Facility Clinics, Robert N. Davoren Center, 11-11 Hazen St., East Elmhurst, N.Y. 11370,
George Motchan Detention Center, 15-15 Hazen St., East Elmhurst, NY. 11370, Transit
Search Centers, West Facility 16-06 Hazen Street, East Elmhurst, New York 11370.

1i) The approximate time of the events concerning the defendants’ were a
continuing occurrence beginning on May 15, 2014, through August 2015.

12) Defendant Joseph A. Ponte, is the former Commissioner of the New York
Department of Corrections employed by the City of New York, instituted an
unconstitutional Department wide policy for illegal body cavity strip-frisk-searches;
entered into a contract with defendant Corizon Health Inc., that denied plaintiff adequate
medical care; failed to train his Supervisors, Officers, and Staff and failed to maintain.

13) Defendant Corizon Health Inc., entered into a contract with defendant City
Of New York and New York City Department Of Corrections that granted Conzon
Health Inc. the exclusive right to provide adequate medical services to inmate confined in
all of New York City Correctional Facilities. Under the contract defendant, Corizon
Health Inc. was allowed to make and implement illegal policies concerning the course of
treatment given to inmates.

14) Defendants, The City Of New York is a municipality in the State of New
York which owns, operates, manages, directs and controls the New York City
Department Of Corrections who has entered into a contract with defendant Corizon
Health Inc. The New York City Department Of Corrections has granted Corizon Health
Inc. the exclusive right to provide adequate medical services to inmate confined in all of
New York City Correctional Facilities. Under the contract defendant, Corizon Health
Inc. was allowed to make and implement illegal policies concerning the course of
treatments given to inmates. |

VI = FACTS:
| 15} By operation of State and Federal Laws, plaintiffs movement is
controlled by New York State Department Of Corrections and Community Supervision.
From April 18, 1990, until the present, plaintiffis an inmate in the custody of the New
York State Department Of Corrections and Community Supervision. All defendants are

sued in their individual and official capacity.
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FIRST CAUSE OF ACTION
VIOLATION OF PLAINTIFFS’
SERIOUS MEDICAL NEEDS;
CRUEL AND UNUSUAL PUNISHMENT

16) In September of 2006, plaintiff underwent a back surgery that consisted of
fusing the L4-L5, and L5-S1 Lumber Spine and Laminectomy Excision of the L4-L5, and
the L5-S1 herniated disk. |

17) Asa result of the above surgery procedure, plaintiff is required to have a
special mattress to relieve the pressure from the lumber spine area when ever he is lying
or sitting in bed.

18) On May 15, 2014, plaintiff arrived at the Robert N. Davoren Center,
(hereafter, R.N.D.C), intake and informed the intake examiner that he underwent a back
surgery in 2006, provided them with copies of his medical records and requested to be
provided with a special mattress to relieve the pressure from his lumber spine. The
examiner informed plaintiff that Rikers Island and Corizon Health Inc. policy prohibits
them from issuing any form of special mattress no matter what the problem.

19) Plaintiff was then housed in Mode Three Upper and was given a worn
down used mattress approximately one inch in thickness with rips in it causing the
insulation to come out.

20) Plaintiff began to experiences extreme lower and upper back pain,
stiffness in his lower back, muscle spasms, shoulder pain, loss of sleep, numbness in his
hipbones, and difficulty standing as a result of the extreme back pain.

21} On May 19, 2014, plaintiff went to see Roxanne Hobbs-Green, (hereafter,
Hobbs-Green), and informed her of the above medical procedure and explained the
problems and pain that his mattress was causing, Hobbs-Green told plaintiff that Rikers
Island and Corizon Health Inc., policy prohibits them from issuing any form of special
mattress no matter what the problem, and provided plaintiff with Ibuprofen Tablet
400mg.

22) On May 22, 2014, plaintiff went to sick-call and saw Kemold Alves,
(hereafter, Alves), and informed him of the above medical procedure and explained the

problems and pain that his mattress was causing. Again, plaintiff was told that Rikers
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Island and Corizon Health Inc., policy prohibits them from issuing any form of special
mattress no matter what the problem, and did not give plaintiff anything for his pain.

23) On May 29, 2914, plaintiff went to sick-call and saw Carole Comas,
(hereafter, Comas), and complained about extreme back, shoulder, neck pain and
informed her of the above medical procedure and explained the problems and pain that
his mattress was causing. Again, plaintiff was told that Rikers Island and Corizon Health
Inc., policy prohibits them from issuing any form of special mattress no matter what the
problem. Comas did not give plaintiff anything for his pain.

24) On June 18, 2014, July 15, 2014, and August 18, 2014, plaintiff went to
sick-call and saw defendant Jessy Liburd, (hereafier, Liburd), and complained about
extreme back, shoulder, neck pain and inform him of the above medical procedure and
explained the problems and pain that his mattress was causing. Plaintiff explained to
Liburd that the worn damaged mattress was the cause of his pain and his medical
condition required him to be provided with a special mattress. Plaintiff was told that
Rikers Island and Corizon Health Inc. policy prohibits them from issuing any form of
special mattress no matter what the problem.

25) On July 2, 2014, plaintiff was seen by Chika Nwogwugwu, (hereafter,
Nwogwugwu), and complained about the extreme back, shoulder, neck pain and inform
him of the above medical procedure and explained the problems and pain that his
mattress was causing. Nwogwugwu told that Rikers Island and Corizon Health Inc.,
policy prohibits them from issuing any form of special mattress no matter what the
problem.

26) On August 7, 2014, was transferred to the George Motchan Detention
Center, (hereafter, G.M.D.C.). Plaintiff was housed in Mode One Upper and was given a
worn down used mattress approximately one inch in thickness with rips in it causing the
insulation to come out.

27) On August 26, 2014, and December 8, 2014, plaintiff was seen by Lynn
Devivo, (hereafter, Devivo), and complained about the extreme back, shoulder, neck pain
and informed her of the above medical procedure and explained the problems and pain

that his mattress was causing. Devivo told that Rikers Island and Corizon Health Inc.,
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policy prohibits them from issuing any form of special mattress no matter what the
problem.

28) On September 3, 2014, November 25, 2014,-and October 15, 2014,
plaintiff was seen by defendant Yves Gauvin, (hereafter, Gauvin), and complained about
the extreme back, shoulder, neck pain and informed him of the above medical procedure
and explained the problems and pain that his mattress was causing, Plaintiff was then
told that Rikers Island and Corizon Health Inc., policy prohibits them from issuing any
form of special mattress no matter what the problem,

29) On November 18, 2014, January 5, 2015, and March 23, 2015, plaintiff
was seen by defendant Jorge Villalobos, (hereafter, Villalobos), and complained about
the extreme back, shoulder, neck pain and informed him of the above medical procedure
and explained the problems and pain that his mattress was causing. Villalobos then told
plaintiff that Rikers Island and Corizon Health Inc,, policy prohibits them from issuing
any form of special mattress no matter what the problem.

30) On December 20, 2014, plaintiff was seen by Nuaemezie Umeasor,
(hereafter, Umeasor), and complained about the extreme back, shoulder, neck pain and
informed him of the above medical procedure and explained the problems and pain that
his mattress was causing. Plaintiff was then told that Rikers Island and Corizon Health
Inc., policy prohibits them from issuing any form of special mattress no matter what the
problem, but provided plaintiff with Tylenol #3.

31) OnDecember 26, 2014, plaintiff was seen by Allareddy Reddy, (hereafter,
Reddy), and complained about the extreme back, shoulder, neck pain and informed him
of the above medical procedure and explained the problems and pain that his mattress
was causing. Plaintiff was then told that Rikers Island and Corizon Health Inc., policy
prohibits them from issuing any form of special mattress no matter what the problem.

32) On November 5, 2014, plaintiff was seen by Kernold Alves, (hereafter,
Alves), and complained about the extreme back, shoulder, neck pain and inform him of
the above medical procedure and explain the problems and pain that his mattress was
causing. Plaintiff was then told that Rikers Island and Corizon Health Inc., policy

prohibits them from issuing any form of special mattress no matter what the problem.
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33) On September 29, 2014, plaintiff was seen by Vanessa Jones, (hereafter,
Jones), and complained about the extreme back, shoulder, neck pain and informed her of
the above medical procedure and explained the problems and pain that his mattress was
causing. Plaintiff was then told that Rikers Island and Corizon Health Inc., policy
prohibits them from issuing any form of special mattress no matter what the problem, but
advised plaintiff to take another mattress when somebody leaves and place it on top of his
wom mattress.

34) On September 17, 2014, plaintiff was seen by Andrew Riofrio, (hereafter,
Rioftio), and complained about the extreme back, shoulder, neck pain and informed him
of the above medical procedure and explained the problems and pain that his mattress
was causing. Plaintiff was then told that Rikers Island and Corizon Health Inc., policy
prohibits them from issuing any form of special mattress no matter what the problem.

35) On September 11, 2014, and October 9, 2014, plaintiff was seen by Scott
Parks, (hereafter, Parks), and complained about the extreme back, shoulder, neck pain
and informed him of the above medical procedure and explained the problems and pain
that his mattress was causing. Plaintiff was then told that Rikers Island and Corizon
Health Inc., policy prohibits them from issuing any form of special mattress no matter
what the problem.

36) | On January 16, 2015, and January 26, 2015, plaintiff was seen by Frank .
Medard, (hereafter, Medard), and complained about the extreme back, shoulder, neck
pain and informed him of the above medical procedure and explained the problems and
pain that his mattress was causing. Plaintiff was then told that Rikers Island and Corizon
Health Inc., policy prohibits them from issuing any form of special mattress no matter
what the problem. | |

37) On February 18, 2015, plaintiff was seen by Iceyleen Cooper, (hereafter,
Cooper), and complained about the extreme back, shoulder, neck pain and informed him
of the above medical procedure and explained the problems and pain that his mattress
was causing. Plaintiff was then told that Rikers Island and Corizon Health Inc., policy
prohibits them from issuing any form of special mattress no matter what the problem.

38) On April 5, 2015, plaintiff was seen by defendant Rostislav Davydov,

(hereafter, Davydov), and complained about the extreme back, shoulder, neck pain and
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informed him of the above medical procedure and explained the problems and pain that
his mattress was causing. Davydov then told plaintiff that Rikers Island and Corizon
Health Inc., policy prohibits them from issuing any form of special mattress no matter
what the problem.

39) On December 30, 2014 and June 1, 2015, plaintiff was seen by defendant
Olga Segal, (hereafter, Segal), at the West Facility and complained about the extreme
back, shoulder, neck pain and informed her of the above medical procedure and
explained the problems and pain that his mattress was causing. Segal then told plaintiff
that Rikers Island and Corizon Health Inc., policy prohibits them from issuing any form
of special mattress no matter what the problem.

SECOND CAUSE OF ACTION
ILLEGAL STRIP/CAVITY SEARCH/
RELIGIOUS VIOLATION

40)  Onthe morning of April 14, 2015, plaintiff went through the normal body
cavity strip-search procedure in G.M_.D.C., strip area to go to court of that day. .

41) After the completion of the search, plaintiff was placed in a Holding Pen
to wait for the bus. Plaintiff was called out of the Holding Pen to board the bus to go to
court, After plaintiff boarded the bus, the entire bus was taken to a search Facility. At
that time, a defendant Captain Mitchell, and three Defendant’s, who were either Wayne
Murphy, Darian Johnson, Jeremiah Haze, Javier Cruz, Eric Nieves, Chris DiTommaso,
Hector Estrella, John Poleini, Fred Hertz, Robert Pullan, or Michael Drapan, boarded the

bus wearing Gas Masks, armed with canisters of a chemical agent known as MK9.

| 42) Defendant Captain Mitchell and three Defendant’s, who were either
Wayne Murphy, Darian Johnson, Jeremiah Haze, Javier Cruz, Eric Nieves, Chris
DiTommaso, Hector Estrella, John Poleini, Fred Hertz, Robert Pullan, or Michael
Drapan, wore all black uniforms with no identification tags. Defendant, Captain Mitchell
began to yell in a threatening manner stating, “listen up, I want all you mother fuckers off
the bus now. If you give my officers or me any shit, we will spray your ass until you fall
out. Stand up walk straight off the bus and do not look back or say a word. This is the
new policy handed down from the Commissioner.”

43) Upon exiting the bus, either defendant’s Wayne Murphy, Darian Johnson,

Jeremiah Haze, Javier Cruz, Eric Nieves, Chris DiTommaso, Hector Estrella, John
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Poleini, Fred Hertz, Robert Pullan, or Michael Drapan was wearing all black uniforms,
with no identification tags armed with canisters of a chemical agent known as MK9,
directing plaintiff and the entire occupants of the bus to enter the search Facility building
in a straight line.

44) _ Plaintiff was made to stand side by side shackled to another inmate while
a female Jane Doe Officer #1 lead a Drug Sniffing-Dog up and down the line of inmates

in the front and back of plaintiff. The drug sniffing-dog did not pick up anything during
the procedure. A female Jane Doe #2 Officer was filming the entire incident.

45) Thereafter, either defendant’s Wayne Murphy, Darian Johnson, Jeremiah
Haze, Javier Cruz, Eric Nieves, Chris DiTommaso, Hector Estreila, John Poleini, Fred
Hertz, Robert Pullan, or Michael Drapan ordered plaintiff to go into a large open cage
while still shackled to another inmate. Plaintiff was then unshackled, stood next to other
inmates, and ordered to strip naked while standing on the cold floor with no form of floor
mat. Plaintiff explained to either defendant’s Wayne Murphy, Darian Johnson, Jeremiah
Haze, Javier Cruz, Eric Nieves, Chris DiTommaso, Hector Estrella, John Poleini, Fred
Hertz, Robert Pullan, or Michael Drapan that he was registered under the Jewish faith and
was not supposed to disrobe in the presence of other inmates.

46) Either defendant’s Wayne Murphy, Darian Johnson, Jeremiah Haze, Javier
Cruz, Eric Nieves, Chris DiTommaso, Hector Estrella, John Poleini, Fred Hertz, Robert
Pullan, or Michael Drapan stated that this was the new policy, and didn’t want to hear
what plaintiff had to say and ordered plaintiff to place his hands on top of his head,
spread his legs and bend over and cough five times, open his mouth, and run his hand
between his lips, turn around place his hand against the gate, lift up his left and right foot
in the presence of female officers and other inmates.

47) Plaintiff's cloths were thrown on the dirty floor while a second defendant,
either, Wayne Murphy, Darian Johnson, Jeremiah Haze, Javier Cruz, Eric Nieves, Chris
DiTommaso, Hector Estrella, John Poleini, Fred Hertz, Robert Pullan, or Michael Drapan
wearing a gasmask armed with a canister of a chemical agent known as MK9, threatening
plaintiff stating, “if you fail to comply or say anything, I will spray you in your face.”

48) On the afternoon of April 22, 2015, while returning from court, the entire

bus was taken to a search Facility, where a Defendant’s Captain Deochan or Garcia, and
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either defendant’s, Francis Martin, Anthony Johnson, David Whitaker, Jorel Ward,
Robert Gottlieb, Daniel Altadonna, Steven Merril, Joey Torres, George Beazer, Emiel -
Henry, Ralph Dessoueces, Johnnie Gildon, Louis Finley, David Gonzalez, Gregory
MeNichlos, William Smith, or William Pincay, wearing all black uniforms with no
identification tags armed with canisters of a chemical agent known as MK9 boarded to
bus. Defendant’s Captain Deochan or Garcia began to yell in a threatening manner
_ stating, “you guys know the drill, stand up and don’t say a word. Get the fuck off the bus
in a straight line. This is the new policy, if there is any shit, you will be sprayed.”

49) Plaintiff and the entire occupants of the bus was ordered to enter the
search Facility building in a straight line. Plaintiff was made to stand side by side
shackled to another inmate while a female Jane Doe Officer #3 lead a Drug Sniffing-Dog
up and down the line on inmates in the front and back of plaintiff. The drug sniffing-dos
did not pick up anything during the procedure. Defendant Carolyn Grainger was filming
the entire incident. _

50) Thereafter, either defendant’s, Francis Martin, Anthony Johnson, David
Whitaker, Jorel Ward, Robert Gottlieb, Daniel Altadonna, Steven Merril, Joey Torres,
George Beazer, Emiel Henry, Ralph Dessoueces, Johnnie Gildon, Louis Finley, David
Gonzalez, Gregory McNichlos, William Smith, or William Pincay, ordered plaintiff to go
into a large open cage while still shackled to another inmate. Plaintiff was then
unshackled, stood next to other inmates, and order to strip naked while standing on the
cold floor with no form of floor mat. Plaintiff explained to either defendant’s, Francis
Martin, Anthony Johnson, David Whitaker, Jorel Ward, Robert Gottlieb, Daniel
Altadonna, Steven Merril, Joey Torres, George Beazer, Emiel Henry, Ralph Dessoueces,
Johnnie Gildon, Louis Finley, David Gonzalez, Gregory McNichlos, William Smith, or
William Pincay, that he was registered under the Jewish faith and was not supposed to
disrobe in the presence of other inmate.

51) Again either defendant’s, Francis Martin, Anthony Johnson, David
Whitaker, Jorel Ward, Robert Gottlieb, Daniel Altadonna, Steven Merril, Joey Torres,
George Beazer, Emiel Henry, Ralph Dessoueces, Johnnie Gildon, Louis Finley, David
Gonzalez, Gregory McNichlos, William Smith, or William Pincay, stated that this was
the new policy, and didn’t want to hear what plaintiff had to say and ordered plaintiff to
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place his hands on top of his head, spread his legs and bend over and cough five times,
open his mouth, and run his hand between his lips, turn around place his hand against the
gate, lift up his left and right foot in the presence of female officers and other inmates.

52) Plaintiff's cloths were thrown on the dirty floor while a second defendant,
either Francis Martin, Anthony Johnson, David Whitaker, Jorel Ward, Robert Gottlieb,
Daniel Altadonna, Steven Merril, Joey Torres, George Beazer, Emiel Henry, Ralph
Dessoueces, Johnnie Gildon, Louis Finley, David Gonzalez, Gregory McNichlos,
William Smith, or William Pincay, wearing a gasmask armed with a canister of a
chemical agent known as MK9, threatening plaintiff stating, “if you fail to comply or say
anything, I will spray you in your face.”

| 53) Plaintiff was placed back on the bus, taken to G.M.D.C.; there he was |
subjected to another full body cavity strip-frisk-search upon entering the facility.
FORTH CAUSE OF ACTION

54-a) Paragraphs | through 53 is incorporated herein by reference as though
fully set forth.

b. All the above defendant’s are sued in their individual and official capacity.

c. Plaintiff demand(s) a trial by JURY.

55) WHEREFORE, plaintiff prays that this Court grant the following relief:
1. One Million (1,000,000.00) Compensatory Damages; and 2. One Million
(1,000,000.00), Punitive Damages.

I, Michael Jones, declare under penalty of perjury that the forgoing is true and
correct.

DATE: April 22, 2020
| Respectfully submitted

“n"

Michael Jones #90-A-5292
Plaintiff, Pro se
 

   
   

 

 

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